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USDC SDNY
UNITED STATES DISTRICT COURT DOCUMENT
SOUTHERN DISTRICT OF NEW YORK ELECTRONICALLY FILED

 

DOC #:
DATE FILED: _ 7/17/2023

SECURITIES AND EXCHANGE COMMISSION,

 

Plaintiff,
-against-
20 Civ. 10832 (AT) (SN)
RIPPLE LABS, INC., BRADLEY

 

 

GARLINGHOUSE, and CHRISTIAN A. AMENDED ORDER OF
LARSEN, REFERENCE TO
MAGISTRATE JUDGE
Defendants.

 

ANALISA TORRES, District Judge:

The above-entitled action is referred to the Honorable Sarah Netburn for the following
purposes:

 

xl General Pretrial (includes scheduling, O =| Consent under 28 U.S.C. § 636(c) for all
discovery, non-dispositive pretrial purposes (including trial)
motions, and settlement)

 

O Specific Non-Dispositive O =| Consent under 28 U.S.C. § 636(c) for
Motion/Dispute limited purpose (e.g., dispositive
motion, preliminary injunction)
Purpose:

 

oO If referral is for discovery disputes when | [1] | Habeas Corpus
the District Judge is unavailable, the time
period of the referral:

 

Xx Settlement 1) | Social Security

 

Oo Inquest After Default/Damages Hearing |_| Dispositive Motion (i.e., motion
requiring a Report and
Recommendation)

Particular Motion:

 

 

 

 

 

 

SO ORDERED.

Dated: July 17, 2023
New York, New York

O4-

ANALISA TORRES
United States District Judge

 
